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Att. B

From: CHCO Council
Sent: Friday, February 14, 2025 12:48 PM
Subject: Follow up: CHCO Council Special Session

CHCOs and Deputy CHCOs,
Thank you for your time today.
This message clarifies immediate next steps for probationary employees.

Over the past several days, agencies have worked to review, clean up, and finalize their lists of
probationary employees they wish to keep, and wish to terminate, and begin taking action.

We have asked that you separate probationary employees that you have not identified as mission-
critical no later than end of the day Monday, 2/17. We have attached a template letter. The
separation date should be as soon as possible that is consistent with applicable agency policies
(including those in CBAs).

Guidance from the Office of Personnel Management (“OPM”) states, “An appointment is not final
until the probationary period is over,” and the probationary period is part of “the hiring process for
employees.” A probationer is still an applicant for a finalized appointment to a particular position as
well as to the Federal service. “Until the probationary period has been completed,” a probationer
has “the burden to demonstrate why it is in the public interest for the Government to finalize an
appointment to the civil service for this particular individual.” Thus, the probationary period is part of
the federal hiring process; there is currently a hiring freeze; and a probationer has no right to
continued employment in the federal government.

An employee’s performance must be measured in light of the existing needs and interests of
government. OPM has emphasized that individual employee performance measurement should be
“aligned with and support organizational goals” and “focus[] employee efforts on achieving
organizational and group goals.” An employee’s performance must be viewed through the current
needs and best interest of the government, in light of the President’s directive to dramatically reduce
the size of the federal workforce.

Through the exemptions process, agencies have identified the highest-performing probationers in
mission critical areas. Regulations on probationary periods state: “The agency shall utilize the
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probationary period as fully as possible to determine the fitness of the employee and shall terminate
his or her services during this period if the employee fails to demonstrate fully his or her qualifications
for continued employment.” 5 CFR 315.803. OPM believes “qualifications for continued
employment” in the current context means that only the highest-performing probationers in mission-
critical areas should be retained.

After actioning, please update the previous probationary employee spreadsheet you’ve sent us to
include the information below. Please resend the updated version to tracking@opm.gov with

Amanda Scales and Jamie Sullivan on cc by 8:00pm EST Monday. This tracker should include:

@ Which probationary employees have been terminated and which you plan to keep. For those
you plan to keep, provide an explanation of why.

@ For each probationary employee, indicate if they have opted into the deferred resignation
program or not. This can be done by cross-checking the latest submissions sent to you via
tracking@opm.gov. Please also indicate whether you have signed a written deferred
resignation agreement with them or not.

@ Probation end date.

Please continue providing these reports daily through at least the end of next week.

We have also attached a template Probationary tracker for your reports today.

Thank you,
OPM
